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                                     RECORD NO. 22-1838

                                       (1:21-cv-02520-LKG)
                                       (1:21-cv-02988-LKG)



                                       In the
                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT

           WHITEFORD TAYLOR AND PRESTON, LLP; THOMAS CARROLL
                              BEACH, III

                                     Defendant - Appellants

                                                v.

         SENS, INC; ROY SENS; MELANIE SUSAN SENS; SENS MECHANICAL,
                                    INC.

                                       Plaintiff – Appellees

               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                           *****
                                   BRIEF OF APPELLANTS

                                              *****

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                               JURISDICTIONAL STATEMENT

              This is a consolidated appeal of two Bankruptcy Court opinions involving the

        same parties and issue to the U.S. District Court in the District of Maryland.

        Appellees Sens, Inc., Sens Mechanical Inc. (“SMI”), Roy Sens, and Melanie Sens

        (hereinafter collectively the “Sens Parties”) filed a Complaint in the Circuit Court

        for Howard County, Maryland, alleging legal malpractice against Appellants

        Whiteford Taylor & Preston, LLP, and Thomas C. Beach III (hereinafter collectively

        “Appellants”), which was removed to the U.S. Bankruptcy Court for the District of

        Maryland on May 8, 2020.

              The District Court has jurisdiction to review final judgments of a bankruptcy

        court, and interlocutory appeals of matters by leave of the District Court, pursuant

        to 28 U.S.C. § 158. The matter on appeal was a final order, as it provided declaratory

        relief and concludes all adversary proceedings involving the parties before the

        Bankruptcy Court. Although the issues presented to the Bankruptcy Court was set

        forth in a motion to dismiss, the Bankruptcy Court treated it as a “request for

        declaratory relief to ensure that the issues to be decided by the [Bankruptcy Court]

        are fully resolved.” JA 1467.

              Upon entry of an order by the District Court, Appellants timely noted and filed

        an appeal pursuant to the Federal Rules of Appellate Procedures. This Court has




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        appellate jurisdiction over the questions presented with respect to the District

        Court’s order in affirming the Bankruptcy pursuant to 28 U.S.C. § 1291.

                                 STATEMENT OF THE ISSUE

              Whether the District Court erred in affirming the Bankruptcy Court’s holding

        that the statute of limitations did not begin to run until entry of summary judgment

        against the Plaintiff and otherwise failed to apply and follow Maryland law.

                                    STATEMENT OF THE CASE

              This matter arises from a legal malpractice claim initiated by the Appellees

        against Appellants on February 28, 2020 in the Circuit Court for Howard County

        after the Appellees were sued for walking off of a construction job by various surety

        companies that resulted in a judgment against the Appellees. JA 6 – JA 19. The

        malpractice Complaint was filed after many of the plaintiffs had filed bankruptcy,

        in which bankruptcy cases the plaintiffs never disclosed the existence of any claims

        against Appellants as assets, and further did not include the Bankruptcy Trustee as a

        party to a tolling agreement at a time when any claims of the bankrupt Appellees

        that existed were undoubtedly property of their bankruptcy estates and subject to

        control only by the Bankruptcy Trustee. As a result of these non-disclosures and

        bankruptcy estate property issues, the case was removed to the Bankruptcy Court to

        address whether the Appellees could pursue the claims. While the Complaint was

        pending in the Bankruptcy Court, the Appellees filed an Amended Complaint

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        removing Mr. Sens and Mrs. Sens as Plaintiffs and substituting the Bankruptcy

        Trustee for Sens Mechanical Inc. JA 20 – JA 22; see also JA 23 – JA 55.

              Pursuant to an Agreed Order, the Bankruptcy Court agreed to determine

        certain issues in this matter, including the issue which is the subject of this appeal:

        whether the original Complaint and the Trustee’s Amended Complaint are time-

        barred by the statute of limitations. JA 1186 – JA 1239. In its Memorandum

        Opinion, the Bankruptcy Court failed to address significant facts and events that

        would have placed a reasonable person on notice of potential claims against

        Appellants under the applicable Maryland standard for analyzing a limitations

        period, as well as analogous case law from this Court. In holding that limitations

        did not begin to run until December 18, 2018, when the Circuit Court for Baltimore

        County granted summary judgment against Appellees in the Surety Lawsuit, the

        Bankruptcy Court relied on the Appellees’ actual notice of the claims against the

        Appellants as opposed to inquiry notice under Maryland law. Id.

              The evidence below, however, demonstrates that the material facts relating to

        the alleged claims against the Appellants for legal malpractice were known to the

        Appellees no later than early January 2017, such that they were on inquiry notice for

        purposes of the accrual of the statute of limitations. No evidence whatsoever was

        presented by the Appellees, or discussed by the courts below, regarding the exercise

        of any reasonable diligence by the Appellees to discover the claims, even after the

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        Appellees terminated their representation on January 4, 2017. Nor was there any

        evidence presented by the Appellees, or discussion by the courts below, of any

        change in circumstance that existed between that early January 2017 time period and

        the testimony of Mr. Sens that he actually learned of the alleged claim when

        summary judgment was entered against him in favor of the sureties.                This

        “maturation of harm” theory has been rejected resoundingly by Maryland courts, as

        discussed below. Accordingly, in the face of the facts in the record and applicable

        law—and the absence of facts presented by the Appellees—the only conclusion

        consistent with the law that could be reached is that the three-year limitations period

        applicable to the Bankruptcy Trustee’s claims expired before the filing of the

        Complaint on February 28, 2020, and the Amended Complaint on July 28, 2020.

              Subsequently, the instant matter was appealed to the U.S. District Court for

        the District of Maryland. JA 1345 – JA 1348. The District Court affirmed the

        Bankruptcy Court’s ruling that the case was not time barred, and held that the lawsuit

        filed on February 28, 2020 was timely. JA 1567 – JA 1472. In reaching its

        conclusion, the District Court adopted the Bankruptcy Court’s analysis of the facts,

        which caused the District Court to make the same error in overlooking the inquiry

        notice that existed long before the actual notice found occurred. In failing to apply

        clear and decisive precedent regarding inquiry notice with respect to its review of

        the Bankruptcy Court’s opinion, the District Court perpetuated the error. Indeed, the

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        District Court did not analyze the Appellees’ receipt of the demand by the sureties,

        or the filing or service of the Surety Lawsuit against them as being inquiry notice.

        Instead of determining the date that Appellees knew or should have known of their

        claim, both the Bankruptcy Court and District Court held that limitations did not

        begin to run until Appellees had actual knowledge of their claim, notwithstanding

        that no new information about Appellants’ conduct was revealed to Appellees at that

        time, and that an objectively reasonable party in the position of Appellees would

        have been on inquiry notice far earlier when Appellees received a demand notice,

        became the subject of a lawsuit seeking in excess of $17 million in damages, and

        were served with the lawsuit. In this regard, both courts pointed to the entry of

        judgment and deposition testimony of Mr. Sens about when he subjectively became

        aware of a potential claim against Appellants. Again, this subjective analysis is

        contrary to the well-established objective standard under Maryland law.

              Additionally, the District Court erred in affirming the Bankruptcy Court’s

        erroneous application of Maryland’s “continuation of events principle” to toll

        limitations, and extended application of the principle to beyond the termination of

        Appellants’ representation of the Appellees, which concluded on January 4, 2017.

        There are no legal or factual reasons to support that conclusion. Appellees had

        reason to know and should be held to have known of their potential claim when they

        were served with a lawsuit seeking millions of dollars in damages. There were no

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        affirmations or representations made by Appellants in connection with that lawsuit

        after the representation concluded, and, it is uncontroverted that no new information

        was revealed to Appellees at a later time. Nevertheless, both the Bankruptcy Court

        and District Court not only failed to address the inquiry notice arising from the

        lawsuit, they failed to apply such notice to the continuation of representation

        doctrine. Even if one assumes that the Appellees are relieved from doing any

        reasonable investigation during the term of representation, which is not the law, then

        limitations would begin to run on January 4, 2017. The Complaint was filed on

        February 29, 2020 by plaintiffs who had no standing to pursue the claims because

        the claims had already been transferred by operation of 11 U.S.C. § 541 to the

        bankruptcy estates, with an extension of time to file by way of a Tolling Agreement

        only granted to the Appellees, and not the Bankruptcy Trustee who then controlled

        those claims as property of the bankruptcy estates.

              Thus, the expiration of limitations for the Bankruptcy Trustee’s claims is not

        resurrected by either the Tolling Agreement signed between non-parties, or the

        relation back rules under Federal Rule 17 or its Maryland rule equivalent. First, the

        Bankruptcy Trustee is a non-party to the Tolling Agreement and neither the claims

        of the Bankruptcy Trustee nor the bankruptcy estate were tolled under any objective

        reading of the four corners of the Tolling Agreement. The claims asserted by the

        Bankruptcy Trustee are indisputably estate claims—not claims of the Sens or Sens

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        Mechanical Inc. (“SMI”)—and they remain property of the estate, which can only

        be pursued by the Bankruptcy Trustee. Second, the effect of a later substitution of

        the Bankruptcy Trustee into the case as a real party in interest under the rules of

        procedure is to treat the case as if the real party in interest had filed the case

        originally. The result under that mandate is that the Bankruptcy Trustee’s claims

        were barred at the time of the original Complaint. Accordingly, the Appellees do

        not benefit by a change to the limitations bar by either the Tolling Agreement or the

        relation back doctrine.

              Accordingly, based on the facts in the record and applicable law, Appellants

        respectfully submit that the District Court erred in affirming the Bankruptcy Court’s

        ruling, and that the three-year limitations period applicable to the Trustee’s claims

        expired before the filing of both the original Complaint on February 28, 2020, and

        the Amended Complaint on July 28, 2020.

              A. Factual Background

              This matter concerns a dispute arising out of a contract between Inns of Ocean

        City (“IOOC”) and Sens, Inc., to build a Marriott Residence Inn Hotel, a 150-unit,

        eight story hotel located at 300 Sea Bay Lane, Ocean City, Maryland (the “Project”).

        JA 25. The Project was divided into two phases. The first phase entailed laying

        foundation and pouring concrete for the hotel. On March 16, 2015, the contract was

        amended to include the second phase, which was the construction of the hotel. JA

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        26. IOOC and Sens, Inc. agreed to a date of substantial completion of the project by

        March 30, 2016. JA 93 – JA 104. The amended contract included a clause that states,

              Contractor and Owner each recognize and agree that the drawings and
              specifications are incomplete or inaccurate in a number of respects and
              include omissions and deficiencies…[t]he parties are willing to proceed
              with the construction of the Project, even with the understanding and
              acknowledgement that the drawings are incomplete, inaccurate, lacking
              details and include deficiencies, errors and omissions…all work
              necessary to implement the above at no additional cost, expense, or
              charge to the owner.

        First Amendment to Contract and Exhibit I (the “Amended Contract”). Id., see also

        JA 97. After the amendment, IOOC and the lender on the project required Sens to

        secure payment and performance bonds on the Project. JA 26. However, Sens was

        unable to secure a $17.8 million bond on its own, and was required to provide

        additional indemnitors. Id. As such, Mr. and Mrs. Sens, individually, and SMI

        became co-indemnitors for bonds (the “Bonds”) provided by the United States

        Surety Company and U.S. Specialty Insurance Company (collectively the

        “Sureties”). Id.

              Thereafter, Sens began work on the Project, but encountered delays which

        Sens contends was the result of IOOC’s failure to provide necessary drawings and

        plans for construction. JA 25. at pg. 5. As early as August 11, 2015, IOOC was

        aware of significant delays on the Project and was threatening to take action against

        Sens. In response, Sens claimed that IOOC did not provide plans and permits, and

        failed to answer its requests for information. In light of these issues, Sens attempted
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        to obtain change orders for extensions of time. However, IOOC, relying on Exhibit

        I, denied those requests. Mr. Sens testified, “[IOOC] knew it was impossible for

        [Sens] to build that. No one could have built it, as we know…So this was designed

        for failure, from owner to me. This – this document [Exhibit I] was designed to make

        me fail.” JA 115 (Deposition of Roy Sens 185:10-186:17).

              Subsequently, after the March 30, 2016 deadline for substantial completion

        has already passed, Sens had a meeting with a representative of IOOC in April, 2016.

        JA 27. At the meeting, the representative from IOOC insisted that Sens was going

        to be held to the deadlines. After this meeting, and after IOOC’s assessment of

        liquidated damages under the Contract, Sens hired Appellants as its attorneys. Id.

        On May 19, 2016, Sens sent a letter to IOOC informing them that Sens was

        suspending all work on the Project due to the lack of final drawings, executed change

        orders, payments, and the impending liquidated damages. Id. On June 6, 2016, IOOC

        wrote to the surety that the job is way behind schedule and Sens’ performance was

        “late and disappointing” due to “project management deficiencies.” JA 125 – JA

        126. The IOOC continued to assess substantial liquidated damages against Sens.

              After Sens’ May 19, 2016 letter, IOOC and Sens began negotiating an

        extension to the substantial completion deadline to try and resolve the dispute over

        liquidated damages. IOOC proposed a change order that extended the deadline for

        substantial completion to May 31, 2016. JA 128 – JA 130. The proposed change

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        order did not change the language of the provisions of Exhibit I, reaffirming the

        requirement of Sens to “expressly and unconditionally waive…and forever

        discharge Owner…from any and all claims, demands, requests for additional time

        or costs associated with additional time including, but not limited to general

        conditions and fee arising out of, or in any way connected with any known as of the

        date of the execution of the change order associated with this exhibit alleged errors,

        omissions, or other general deficiencies in the design documents supplied by the

        Owner to the Contractor for the Project. JA 129. The change order further states that

        “nothing in this Change Order No. 12 shall act as a waiver or release of the Owner’s

        right to assess liquidated damages should the Contractor fail to achieve substantial

        completion on the Project by May 31, 2016.” JA 129 – JA 130.

              On June 2, 2016, a Sens representative emailed Mr. Beach a copy of Change

        Order 12, indicating that Sens is “trying to get [the dispute] resolved asap so we can

        get paid.” Mr. Beach responded on the same day, stating “I am not satisfied with the

        document. On my calendar 31 May was last Monday. What about the elephant in the

        room, the missing plans, specs, and permits? No [liquidated damages] until a new

        completion date some reasonable time after receipt of missing documents permits.

        No waiver of Sens rights. Stop work until resolved. You are being played.” JA 132.

              After receipt of Mr. Beach’s email, Mr. Sens executed Change Order 12 on

        June 9, 2016, against the advice of Mr. Beach. JA 121 at 255:19-256:6. The change

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        order was executed 10 days after the new date of substantial completion set forth in

        the document. Sens nonetheless signed the document despite knowing that Sens was

        not able to complete the project by May 31, 2016 (which had already passed when

        Mr. Sens executed the Change Order). JA 28.

              After Sens signed Change Order 12, on July 28, 2016, Appellants, at the

        direction of Sens, sent IOOC a Notice of Noncompliance, outlining the reasons that

        Sens believed IOOC was not in compliance, including the missing and incomplete

        design documents, permits, approvals, and drawings. Sens alleged that on August 1,

        2016, Appellants sent Sens an email suggesting that the terms of the Contract

        allowed Sens to discontinue its work, and as a result, on August 2, 2016, Sens

        stopped work on the Project. In response, on August 4, 2016, IOOC notified the

        Surety of Sens’ default and their intent to terminate Sens for cause. JA 28 at ¶ 20.

              The parties met on August 18, 2016 as part of the parties’ attempt to resolve

        the dispute, but the effort was unsuccessful. JA 29. On August 30, 2016, IOOC

        notified Sens that it was terminating their right to perform further work on the project

        for cause due to Sens’ abandonment of the job, refusal to supply skilled workers and

        proper materials, failure to make prompt payment to subcontractors, breach of

        contracts, and failing to maintain the Project’s schedule. Id.




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               B. The Surety Lawsuit

               On or about December 21, 2016, the Sureties filed suit against the Sens and

        other indemnitors in the Circuit Court for Baltimore County (the “Surety Lawsuit”),

        seeking damages in the amount of $17,575,838.84, after IOOC made a claim against

        the Bonds demanding payment for Sens’ remaining obligations under the contract

        for the Project. See United States Surety Co. v. Sens Mech. Inc., Case No. 03-C-16-

        013001. Mr. Sens was served with the Surety Lawsuit in January 2017. JA 336; JA

        348 – JA 3491. On January 4, 2017, Appellants terminated its legal representation

        of the Sens. Subsequently, the Surety Lawsuit proceeded in the normal course, with

        Sens, and Mr. and Mrs. Sens, participating as parties. On December 18, 2018, the

        Circuit Court for Baltimore County granted summary judgment in favor of the surety

        group. JA 32 at ¶ 40.

               C. SMI and the Sens’s Bankruptcies

               On June 21, 2017, Mr. and Mrs. Sens filed for personal bankruptcy under

        Chapter 7 of the Bankruptcy Code, In re Roy Sens and Melanie Susan Sens, Case

        No. 17-18481. Schedule A/B, which covers property of the debtors, required Mr.

        and Mrs. Sens to list any “[c]laims against third parties, whether or not you have

        filed a lawsuit or made a demand for payment.” Mr. and Mrs. Sens answered the



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         Mr. Sens misspoke in his deposition that SMI was served in January 2016. The “Surety Lawsuit”
        was filed in December 2016, SMI was in fact served in January, 2017.
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        question under penalties of perjury “no.” Case No. 17-18481 ECF 3-1 at p. 15. They

        also scheduled their 100% equity interest in Sens, and valued the company at only

        $1, even though they now suggest Sens had a claim against Appellants. Id. at p. 12.

              During the pendency of the bankruptcy, Mr. and Mrs. Sens amended their

        schedules a total of three times, once listing all litigation in which they were

        involved, however, they never disclosed or identified any claim or potential claim

        against Appellants. Mr. and Mrs. Sens eventually settled with the Bankruptcy

        Trustee by paying the bankruptcy estate $64,402.50, the total value of non-exempt

        assets listed on their Amended Schedules, to effectuate their discharge of debts. On

        November 16, 2017, based on the information disclosed and assets administered by

        the Bankruptcy Trustee, which did not include the claims against Appellants, Mr.

        and Mrs. Sens obtained a discharge on their debts. See JA 1134.

              On August 11, 2017, SMI filed for Chapter 11 bankruptcy in the United States

        Bankruptcy Court for the District of Maryland. In re Sens Mechanical, Inc., Case

        No. 17-20880. The case was subsequently converted to a Chapter 7 proceeding. On

        August 25, 2017, SMI filed “Schedules A-F.” Schedule A/B which covers property

        of the debtors required SMI to list any “causes of action against third parties

        (whether or not a lawsuit has been filed).” SMI answered the question under

        penalties of perjury “no.” Case No. 17-20880 ECF 17 at p. 7. The schedules did

        not identify any claim against Appellants. On December 1, 2017, SMI amended its

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        schedules; however, the claim now asserted against Appellants was not listed there

        either. A Final Decree was entered by the Bankruptcy Court on August 14, 2019,

        and SMI never once disclosed the existence of any claim against Appellants prior to

        obtaining the Final Decree—even though a demand letter had been sent to

        Appellants more than two months prior.

              D.     Tolling Agreement

              On July 1, 2019, the Sens Parties and Appellants entered into a Tolling

        Agreement that tolled the statute of limitations for claims asserted only by the Sens

        Parties against the Appellants for a period of five months, from July 1, 2019 to

        December 1, 2019. JA 316 – JA 321. The Tolling Agreement was extended twice,

        through February 1, 2020, and then through March 1, 2020. JA 322 – JA 325. The

        Bankruptcy Trustee and bankruptcy estates were not parties to the Tolling

        Agreement. JA 316 – JA 325.

              E.     Procedural History

              The Sens Parties filed suit against Appellants on February 29, 2020. JA 6 –

        JA 19. The claims were instituted by Mr. and Mrs. Sens, Sens Inc., and SMI in the

        Circuit Court for Howard County of Maryland. On May 8, 2020, Appellants moved

        to remove the Complaint to the Bankruptcy Court. JA 20 – JA 22. On July 28, 2020,

        the bankruptcy trustee for the Sens Parties filed an amended complaint, which

        removed Mr. and Mrs. Sens as the plaintiffs, and added the SMI Trustee as the

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        plaintiff on behalf of SMI. JA 23 – JA 55. The Bankruptcy Court entered an order

        on October 15, 2020, decreeing that it shall “retain the case to resolve preliminary

        issues based on bankruptcy law and then, with regard to any claims not implicated

        by this Court’s rulings or otherwise not dismissed, this matter should be remanded

        to the Circuit Court for Howard County, Maryland for further proceedings.” JA 60

        – JA 63. On September 30, 2021, the Bankruptcy Court issued a Memorandum

        Opinion and Order resolving the preliminary issues of the instant legal malpractice

        suit. JA 1126 – JA 1179; see also JA 1186 – JA 1239. Of the relevant issues on

        appeal are the Bankruptcy Court’s finding that (1) the Sens Parties timely filed the

        original Complaint on February 28, 2020, (2) the statute of limitations for the legal

        malpractice suit began to run on December 18, 2018, when the court granted the

        Sureties’ motion for summary judgment, and (3) the original lawsuit, as a result, was

        timely filed as it occurred within three years of the Sureties Lawsuit. Id.

              Subsequently, Appellants appealed the Bankruptcy Court’s final judgment on

        these issues to the U.S. District Court in the District of Maryland. JA 1345 – JA

        1348. The District Court, after briefing from the parties, affirmed the Bankruptcy

        Court’s finding with respect to the issues regarding statutes of limitations. JA 1457

        – JA 1472.




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                                    STANDARD OF REVIEW

              This Court reviews the judgment of the District Court sitting in review of a

        bankruptcy court de novo, applying the same standard of review that was applied in

        the District Court. Three Sisters Partners, L.L.C. v. Harden, 167 F.3d 843, 847

        (1999). The legal conclusions of both the district court and the bankruptcy court are

        reviewed de novo and the factual findings of the bankruptcy court are reviewed for

        clear error. See Jenkins v. Simpson (In re Jenkins), 784 F.3d 230, 234 (2015).

                                           ARGUMENT

              Under Maryland law, legal malpractice claims are subjected to a three-year

        statute of limitations. Md. Code Ann. Cts. & Jud. Proc 5-101. Supik v. Bodie, Nagle,

        Dolina, Smith & Hobbs, P.A., 152 Md. App. 698, 712 (2003). The statute of

        limitations begins to run when the claimant in fact knew, or reasonably should have

        known of the wrong. Poffenberger v. Risser, 290 Md. 631, 636 (1981) (emphasis

        added). For the purposes of the discovery rule, the “plaintiff [] has the burden of

        proving the applicability of the rule since, ordinarily, defendant will have no

        personal knowledge of when plaintiff discovered, or should reasonably have

        discovered, the facts upon which his cause of action is based, and plaintiff will know

        what facts were known to him at any given period in time and what action he took

        to protect his rights.” Edwards v. Demedis, 118 Md. App. 541, 563–64 (1997); see

        also In re Maxima Corp., 277 B.R. 244, 248 (D. Md. 2002) (explaining that Plaintiffs

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        must demonstrate that they acted with reasonable diligence in discovering the

        injury). In Maxima, the District Court affirmed the summary judgment dismissal

        of a bankruptcy trustee’s complaint on limitations grounds, holding that it was the

        trustee’s “burden of proving that the discovery rule applies.” Maxima, 277 B.R. at

        248 (citing Newell v. Richards, 323 Md. 717, 594 A.2d 1152, 1156 (1991); Finch v.

        Hughes Aircraft Co., 57 Md. App. 190, 469 A.2d 867, 893 (1984). The Court further

        explained that “[t]o establish entitlement, [the trustee] must show that [the debtor]

        acted with reasonable diligence in determining the fact of injury, but was unable to

        discover it.” Id. Because “reasonable minds would not differ that plaintiff has failed

        to exercise due diligence in discovering the existence of his injury,” summary

        judgment is appropriate. See id. (citing First Virginia Banks, Inc. v. BP Exploration

        & Oil Inc., 206 F.3d 404, 407 (4th Cir. 2000).

              Based on the factual record in this case, there is no evidence from the

        Bankruptcy Trustee regarding any exercise of due diligence or any reason the

        Appellees could not have discovered the claim if they had exercised diligence in

        2016, instead of a later time. Thus, as supported by Maxima, the Bankruptcy Trustee

        did not satisfy her burden. See In re Maxima Corp., 277 B.R. 244 (D. Md. 2002).

        Both the Bankruptcy Court and District Court ignored Appellees’ burden to establish

        application of the discovery rule. Having not met this burden to demonstrate any

        reasonable diligence, dismissal was appropriate.

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           A. Inquiry Notice

              The inquiry notice standard for limitations does not require actual knowledge

        of the cause of the injury. The standard is an objective one. See Poffenberger, 290

        Md. 631, 636. In this regard, Maryland courts are clear that the discovery rule does

        not toll limitations simply because a plaintiff is unaware of the cause of his injury,

        and does not postpone a claim’s accrual pending an additional period for making an

        investigation. See Sisters of Mercy of Union v. Gaudreau, Inc., 47 Md. App. 372

        (1980); Lutheran Hosp. of Maryland v. Levy, 60 Md. App. 227, 237 (1984);

        Windesheim v. Larocca, 443 Md. 312, 327 (2015). In Sisters of Mercy, the Court

        found that the plaintiff’s claim accrued when the Sisters became aware of water

        leakage through their roof and walls, finding that, had they exercised reasonable

        diligence at that time, they could have ascertained the cause and responsibility for

        the leakage. 47 Md. App. 372, 378-79.

              The District Court, in affirming the Bankruptcy Court’s ruling, erred by not

        even considering the facts that Appellees had before them regarding the filing and

        service of the Surety Lawsuit against them.      Any objective person would be on

        inquiry notice if he or she was served with a lawsuit seeking millions of dollars that

        was related to the alleged advice Appellees claim was given to them by Appellants.

        Like in the Sisters of Mercy case, armed with this notice, “had they exercised

        reasonable diligence at that time, they could have ascertained the” alleged claims.

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        They failed to do so, there being no evidence in the record of any diligence, so the

        simply fact that they were unaware of their claim does not toll the limitations period.

              Instead of addressing the notice by the sureties, the filing of the Surety

        Lawsuit, the service of the lawsuit, and the absence of any diligence by Appellees,

        the District Court upheld the Bankruptcy Court’s ruling, that because Appellants did

        not notify Appellees of potential claims they may have against Appellants when the

        attorney-client relationship was terminated in January 2017, Appellees did not have

        inquiry notice. Notably, without at all addressing the Surety Lawsuit demand, filing,

        or service, the District Court stated that there are no facts present in the record to

        demonstrate that the Appellees had reason to inquire about their legal malpractice

        claim. JA 1470. From there, both the District Court and Bankruptcy Court focus on

        actual notice and the entry of judgment in that very lawsuit, without any facts

        demonstrating that Plaintiffs had different knowledge of the basis of the case and

        their alleged claims as of entry of the judgment. In doing so, the District Court

        ignored the burden of Appellees, ignored the objective standard, and failed to

        address whether a reasonable person would not inquire as to the causes and basis for

        a lawsuit, as well as potential claims against any third-parties, when the lawsuit is

        seeking more than $17 million in liability related to the alleged advice given by the

        Appellants.




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              The sole basis of the Bankruptcy Court’s ruling is that it found, after reviewing

        testimony of Mr. Sens, that Mr. Sens himself, subjectively, did not know that a

        potential claim existed until after the Circuit Court’s granting of summary judgment.

        See JA 1209 – JA 1210. This was the basis for the Bankruptcy Court to find that a

        reasonable person in Mr. Sens’s situation would not have known that a claim existed.

        Given the fact that the determination is whether an objective person would have

        inquired about a claim, the Bankruptcy Court’s reliance on Mr. Sens and his

        subjective belief is an error in the application of the objective standard. For these

        reasons, the District Court affirmed the Bankruptcy Court’s finding that “the

        limitations period began to run on December 18, 2018, because the evidence shows

        that this was the date on which the Sens Parties knew of circumstances which would

        cause a reasonable person in their position to investigate with reasonable diligence

        and that investigation would have led to the discovery of the alleged legal

        malpractice by WTP.” JA 1469.

              The District Court’s ruling is contrary to established Maryland Law. While it

        is true that a fiduciary relationship between an attorney and a client typically means

        that it is reasonable to rely on the advice of the attorney, the Court in Frederick Road

        qualified that a plaintiff in a legal malpractice claim can trust the advice received in

        a fiduciary relationship, but cannot do so blindly. Frederick Rd. Ltd. P’ship v. Brown

        & Sturm, 360 Md. 76,108 (2008) (stating that a plaintiff “can trust, albeit not blindly,

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        that such a relationship will not be violated”). Again, as Maryland Courts have

        found, the statute of limitation does not begin to run when the cause of the harm is

        discovered, but rather, it is when the injured party could have discovered it if it

        reasonably investigated. Sisters of Mercy, 47 Md. App. 372 (emphasis added). The

        statute itself allows sufficient time for a diligent inquiry. See Lutheran Hosp. of

        Maryland v. Levy, 60 Md. App. 227, 237 (1984).

              In addition, the ordinary person standard measures what the plaintiff has done

        against what should have been done from the lens of an ordinary person put into the

        position of the plaintiff. In finding that limitations barred the claim at issue, the

        Court of Special Appeals of Maryland in Fairfax Sav., F.S.B. v. Weinberg & Green,

        112 Md. App. 587 (1996) rejected the position that the Bankruptcy Court and

        District Court here relied upon, that the limitations did not begin to run until

        judgment was entered or the harm matured. See id. at 614. Instead, the court

        reiterated that maturation of damages is not required to be fixed before limitations

        runs, and held that the incurring of attorneys’ fees to address matters related to the

        attorneys’ advice was sufficient. See id.; see also Edwards v. Demedis, 118 Md.

        App. 541, 553 (1997).

              Any reasonable person in the position of Appellees would have discovered

        the claims they now seek to advance had reasonable diligence been exercised in

        2016. The crux of the alleged malpractice by Appellees in this case is purported

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        advice of Appellants in July 2016 that plaintiff(s) could remove workers from the

        construction project and conclude its work. JA 28 – JA 29. On August 2, 2016, the

        Appellees terminated the construction contract and “immediately remove[d] its

        workers from the Project . . . .” JA 29. The Appellees were on inquiry notice of any

        claim on August 18, 2016, when they became aware that the surety “strongly

        disagreed” with Appellants’ purported position “and threatened to hold Sens and [a

        subcontractor] in default.” JA 29 at ¶ 25. In fact, the Bankruptcy Trustee conceded

        that the Sens parties expressed concern with Appellants’ approach at this time in

        2016. JA 29 at ¶ 26. Immediately thereafter, on August 30, 2016, the construction

        contract was terminated for cause, JA 29 at ¶ 27, and demand was made by the

        sureties on the Sens Parties pursuant to the performance bond. JA 30 at ¶ 31.

              The clear underpinning of the claims in the Surety Lawsuit and the alleged

        malpractice claim against Appellants is the effect of the Sens Parties walking off the

        job in August 2016. The alleged bad advice leading to the claims was that “Mr.

        Beach told us to leave the job without notice” and that occurred in August 2016. JA

        439 at lines 2-8. Due to the financial consequences of walking away from the

        project, the indemnitors, including Sens, SMI, Roy Sens and Melanie Sens, were

        unable to post the deposit.” JA 30 at ¶ 31. Again, the Sens Parties were aware at

        that time in late 2016 of the connection between the alleged advice to walk off of the

        project and the resulting harm. On December 21, 2016, the sureties filed the Surety

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        Lawsuit seeking damages of $17,575,838.84. JA 31 at ¶ 35. Driving the point home,

        the Sens Parties made it clear that “[a]s a result of walking off the job and not being

        able to pay its subcontractors and supplies, Sens faced claims from the

        subcontractors and suppliers which it was unable to honor.” JA 31 at ¶ 36. The Sens

        Parties were, therefore, unquestionably on inquiry notice of the potential claims

        against Appellants at that time in late 2016 because according to the sureties and the

        Sens Parties, it was the walking off of the job upon the alleged advice of the

        Appellants that gave rise to termination of the contract, the demand by the sureties,

        and the Surety Lawsuit. The only other evidence in the record relating to the claims

        is the maturation of the alleged harm by entry of summary judgment in December

        2018. This evidence, as discussed above, is meaningless under Maryland law for

        accrual of limitations.

              These facts in evidence from 2016 provided the Appellees with “knowledge

        of circumstances which ought to have put a person of ordinary prudence on inquiry

        (thus, charging the individual) with notice of all facts which such an investigation

        would in all probability have disclosed if it had been properly pursued.” See, e.g.,

        Windesheim v. Larocca, 443 Md. 312, 327, 116 A.3d 954, 962-63 (2015); see also

        Poffenberger, 290 Md. at 637 (“the discovery rule contemplates actual knowledge

        that is express cognition, or awareness implied from knowledge of circumstances

        which ought to have put a person of ordinary prudence on inquiry (thus, charging

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        the individual) with notice of all facts which such an investigation would in all

        probability have disclosed if it had been properly pursued.”). The Court of Appeals

        stated that “the commencement of the limitations period is not postponed until the

        conclusion of the diligent investigation, but continues to run during that period.”

        Am. Gen. Assur. Co. v. Pappano, 374 Md. 339, 351, 822 A.2d 1212, 1219 (2003).

        “[I]n simple terms, a plaintiff is only on inquiry notice, and thus the statute of

        limitations will begin to run, when the plaintiff has ‘knowledge of circumstances

        which would cause a reasonable person in the position of the plaintiff[] to undertake

        an investigation which, if pursued with reasonable diligence, would have led to

        knowledge of the alleged [tort].’ In such a situation, should the plaintiff fail to seek

        out the facts supporting a cause of action, it can fairly be said that the plaintiff has

        inexcusably slept on his rights.” Pennwalt Corp. v. Nasios, 314 Md. 433, 448-49

        (1988), citing O’Hara v. Koven, 305 Md. 280, 302 (1986).

              Certainly, upon being served with a lawsuit as a party, where the lawsuit seeks

        more than $17 million in personal liability, and incurring attorneys’ fees as in the

        Fairfax case, one would understand there is an issue. Any reasonable person would

        inquire as to all causes and bases for the suit. It is not reasonable for a party to

        participate in a lawsuit for more than two years, accruing time, expense, and

        attorneys’ fees, and only investigate or inquire as to the causes of the lawsuit after

        an adverse ruling is entered. This Court has adopted this approach, which both the

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        Bankruptcy Court and District Court failed to address. In In re Field Farms Ltd.

        P’tnship, 120 F.3d 261 (4th Cir. 1997) (published at 1997 U.S. App. LEXIS 21249,

        this Court analyzed the discovery rule in a legal malpractice claim. It held that “in

        actions involving malpractice, . . . ‘the cause of action accrues when the wrong is

        discovered or when with due diligence it should have been discovered.’” Id. at *11

        (quoting Fairfax Savings v. Weinberg & Green, 112 Md. App. 587, 685 A.2d 1189,

        1201 (Md. App. 1996), in turn, quoting Leonhart v. Atkinson, 265 Md. 219, 289 A.2d

        1, 4 (1972)). This Court found that limitations began to run when plaintiff received

        a claim notice relating to an alleged amount due to the plaintiff. See id. at *12. If

        notice of a claim is sufficient to accrue for purposes of limitations, then certainly

        demands and the lawsuit that exist in this case are more than sufficient notice.

              Appellees were, therefore, on notice of the claim on September 8, 2016, when

        the sureties made a claim notice, like in Field Farms, on the indemnitors, including

        SMI, which SMI alleges it was unable to post JA 30 at ¶ 31, and on November 22,

        2016, when the owner and surety entered into a takeover agreement JA 30 at ¶ 33.

        Certainly, reasonable people could not differ on the proposition that Appellees were

        on notice when they were sued on December 21, 2016, and when they were served

        with the Surety Lawsuit in January 2017. Appellees claim that the Sureties’ lawsuit

        was an adverse event resulting from the alleged erroneous legal advice, and when

        they received notice of the lawsuit, any reasonable person in the position of

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        Appellees would make inquiry.       Indeed, all facts with respect to the adverse

        consequences of Appellants’ advice were known to the Sens Parties when the

        Sureties’ adverse claim against the Sens Parties was filed. It was incumbent upon

        Appellees under Maryland law to exercise reasonable diligence which they did not

        do. The limitations period thus expired in December 2019, and the Bankruptcy

        Trustees’ claims brought thereafter are barred. Relying on the entry of judgment in

        the Surety Lawsuit to begin the limitations period is contrary to Maryland law.

           B. Tolling by the Continuation Doctrine

              The Bankruptcy Court erroneously applied the continuation of events

        principle beyond the time when the attorney client relationship between the parties

        terminated. This is wrong for two reasons: (1) there is no legal support to applying

        the continuation of events to a time period post-dating a termination of

        representation, and (2), this Court has held, citing the Maryland Court of Appeals,

        that “even though an attorney-client relationship may continue after the wrong has

        occurred, the limitations nevertheless begin to run when the party knew or should

        have known of the legal harm.” In re Field Farms Ltd. P’ship, 1997 U.S. App.

        LEXIS 21249 (4th Cir. Aug. 11, 1997).

              First, the significance of when the firm stopped acting as counsel is at that

        point, a person of ordinary prudence would stop looking to the attorney for guidance

        and advice. No evidence at all was presented at the hearing about any ongoing


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        affirmations of the alleged advice at any time after July 2016, and the January 4,

        2017 letter makes it clear that no additional advice would be provided after that time

        as the attorney-client relationship was terminated. There is no Maryland law that

        supports the Bankruptcy Court’s finding that the continuing relationship tolling the

        statute of limitations is applicable even after the attorney-client relationship has been

        terminated. Supik v. Bodie, Nagle, Dolina, Smith & Hobbs, P.A., 152 Md. App. 698,

        714 (2003) (stating that the “confiding party may rely upon the ‘good faith of the

        other party so long as the relationship continues to exist’”) (emphasis added);

        Bresler v. Wilmington Tr. Co., 348 F. Supp. 3d 473, 485 (D. Md. 2018) (holding that

        “statutes of limitations for certain claims are tolled during the existence of a fiduciary

        relationship gives the confiding party the right to rely on the good faith of the other

        party “so long as the relationship continues to exist”); see also Watson v. Dorsey,

        265 Md. 509, 533 (1972) (noting that limitations began even though a fiduciary

        relationship continued); Leonhart v. Atkinson, 265 Md. 219 (statute of limitations

        began to run even though a fiduciary relationship continued). Thus, the limitations

        here would begin no later than January 4, 2017.

              Second, at a minimum, after the termination of representation and during the

        pendency of the suit, a reasonably prudent person in Sens’ position would certainly

        investigate the available defenses and mitigation of damages, which includes

        whether there are any claims against any third parties, such as any potential claims

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        against Appellants after WTP terminated the attorney-client relationship. As such,

        the statute of limitations accrued, at the latest, once WTP’s representation of Sens

        was terminated, more than three years before the filing of the suit.

              In the In re Field Farms matter, the claimant sought to have its legal

        malpractice claim held timely and not barred by limitations by arguing that “the law

        firm’s continued representation during this period prevented them from discovering

        their harm.” Id. at *4. This Court held that “[t]he Maryland courts have rejected this

        approach” and therefore the ongoing representation did not affect the running of the

        limitations period. Id. (citing Watson, 290 A.2d at 530 (noting that limitations run

        even though relationship continued); Leonhart, 289 A.2d at 3 (finding limitations

        ran despite assurances by professional that advice was correct).

              The Maryland Court of Special Appeals has stated that “[t]he continuation of

        events theory is based on the equitable principle of detrimental reliance. When a

        relationship develops between two parties, built on trust and confidence, the

        confiding party may rely upon the ‘good faith of the other party so long as the

        relationship continues to exist.’” Supik v. Bodie, Nagle, Dolina, Smith & Hobbs,

        P.A., 152 Md. App. 698, 714, 834 A.2d 170, 179 (2003). Similarly, in Bresler v.

        Wilmington Tr. Co., 348 F. Supp. 3d 473, 485 (D. Md. 2018), the Court held that

        “statutes of limitations for certain claims are tolled during the existence of a fiduciary

        relationship between the parties because the relationship “gives the confiding party

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        the right to relax his or her guard and rely on the good faith of the other party so long

        as the relationship continues to exist.’” Here, the attorney client relationship

        terminated in January 2017. The Bankruptcy Court’s reliance on Supik to extend the

        time for accrual for more than a year past the termination of the attorney client

        relationship, to December 2018, is in error. In this matter, not only was there no

        evidence of any affirmations by Appellants, but there was no new information

        revealed at a later time - the same facts known to Appellees in December 2018 were

        also known in January 2017, specifically, that the Sens Parties were subject to a

        lawsuit brought by the Sureties, which Appellees now claim is the basis for their

        legal malpractice claim.

              Under the circumstances present here, where Appellees were subject to a

        lawsuit as a result of the purported erroneous advice, where the attorney client

        relationship had concluded, and where Appellees had the benefit of the advice from

        independent counsel in the pending surety claim, the continuation of events principle

        has no application, and does not toll limitations past January 2017. See also Watson

        v. Dorsey, 265 Md. 509, 290 A.2d 530, 533 (Md. 1972) (noting that even though

        attorney-client relationship may continue after the wrong has occurred, the

        limitations nevertheless begin to run when the party knew or should have known of

        the legal harm); Leonhart v. Atkinson, 265 Md. 219, 289 A.2d 1, 4 (finding that

        statute of limitations began running when tax deficiency was assessed despite fact

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        that tax accountant remained as the plaintiffs' accountant, continued to prepare their

        tax returns, and repeatedly gave assurances that the IRS position was incorrect); In

        re Field Farms Ltd. Pshp., at *12-13. Given these facts, and in light of well-

        established Maryland law regarding the statute of limitations, the Bankruptcy Court

        and District Court erred in applying the continuous representation as a tolling of the

        limitations.

           C. The Tolling Agreement Did Not Toll the Bankruptcy Trustee’s Claims

              When a debtor files for relief under the Bankruptcy Code, an estate is created

        that is comprised of “all legal or equitable interests of the debtor in property as of

        the filing date.” 11 U.S.C. §§ 301-303. “Property of the estate includes all of the

        debtor’s interests in any cause of action that has accrued prior to the bankruptcy

        petition.” Tignor v. Parkinson (In re Tignor), 729 F.2d 977 (4th Cir. 1984). In

        Chapter 7 cases, “[i]f a cause of action is part of the estate of the bankrupt then the

        trustee alone has standing to bring that claim.” See, e.g., Wilson v. Dollar Gen.

        Corp., 717 F.3d 337, 343 (4th Cir. 2013). Under no objective reading of the Tolling

        Agreement is the Bankruptcy Trustee’s or bankruptcy estate’s asserted claims

        against the Appellants tolled, and the Bankruptcy Trustee is not a party to the

        agreement. See, e.g., James v. Circuit City Stores, 370 F.3d 417, 422 (4th Cir. 2004)

        (persons were not entitled to the benefits of the tolling agreement where they were

        “not properly described as parties to the agreement.”). The Tolling Agreement only

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        applies to “Potential Claims” that may be brought by SMI, Roy Sens, and Melanie

        Sen. Thus, the Bankruptcy Trustee was required to file the claims at the latest by

        January 2020, which did not occur. The relation-back doctrine does not operate to

        revive a claim which has already expired at the time of an initial filing. Federal Rule

        of Civil Procedure 17 provides that after substitution, “the action proceeds as if it

        had been originally commenced by the real party in interest.” Fed. R. Civ. Proc.

        17(a)(3) (emphasis added). The Maryland corollary rule expressly states that the

        “substitution shall have the same effect as if the action had been commenced in the

        name of the real party in interest.” Md. Rule 2-201. Because the real party in

        interest—the Bankruptcy Trustee—was barred by limitations, the relation back

        concept would mean the Amended Complaint filed on February 28, 2020 is barred.

                                          CONCLUSION

              For the foregoing reasons, Appellants respectfully request that this Court

        reverse the District Court’s finding that the Bankruptcy Court’s declaratory ruling

        with respect to the issue of the statute of limitations for the Sens Parties’ claims

        against WTP and direct that the claims of the Bankruptcy Trustee be dismissed with

        prejudice as barred by the statute of limitations.




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        Dated:                                          /s/ Kevin G. Hroblak
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                                                        /s/Alvin I. Frederick
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                                    CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 14th day of October, 2022, Appellants’

        Brief was served via the Court’s ECF system and by first class mail, postage prepaid,

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